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United States Courts
Southern District of Texas
FILED

UNITED STATES DISTRICT COURT Reaatsaie any uA

SOUTHERN DISTRICT OF TEXAS Nathan Ochsner, Clerk of Court
HOUSTON DIVISION
UNITED STATES OF AMERICA §
§ Criminal No. 21-cr-00037
Vv. §
§
PAUL NJOKU, §
PATE OPARA §
SECOND SUPERSEDING
INDICTMENT
The Grand Jury charges:
General Allegations
At times material to this Indictment, unless otherwise specified:
1. The Medicare Program (“Medicare”) was a federal healthcare
program.
2. “Part A” of the Medicare covered home-healthcare costs for medical

services provided by a home healthcare agency (“HHA”).

a Payments for home-healthcare services were typically made directly
to a HHA based on claims submitted to the Medicare program.

4. Medicare regulations required HHAs providing services to Medicare

patients to maintain complete and accurate medical records of their patients.

Entities and Individuals

5. PAUL NJOKU, (“NJOKU”) was the owner of Opnet Healthcare
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Services, Inc., (““OPNET”’’) and resided in the Greater Houston area within the

Southern District of Texas.

6. OPNET was purportedly a home health agency doing business under
the name “P and P Healthcare Services”. Both OPNET and P and P were located

within the Southern District of Texas.

7. PATE OPARA, (“OPARA”) was a nurse and administrator of
OPNET and resided in the Greater Houston area within the Southern District of

Texas.

8. NJOKU and OPARA each filled out paperwork that caused OPNET
to be enrolled in Medicare. NJOKU and OPARA each agreed to follow Medicare
rules and regulations.

COUNT 1

Conspiracy to Commit Healthcare Fraud
(A violation of 18 U.S.C. § 1349)

The allegations set forth in paragraphs | through 8 are incorporated as
though fully restated and re-alleged herein.

9. Beginning in or around February 2018, continuing thereafter to in or

around July 2019, in the Houston Division of the Southern District of Texas and

elsewhere, defendants

PAUL NJOKU and PATE OPARA
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did, knowingly and willfully, combine, conspire, confederate, and agree with each
other, and with other persons known and unknown to the Grand Jury, to violate
Title 18, United States Code, Section 1347, to wit: knowingly and willfully execute
a scheme and artifice to defraud health care benefit programs affecting interstate
commerce, as defined in Title 18, United States Code, Section 24(b), that is,
Medicare, and to obtain, by means of materially false and fraudulent pretenses,
representations, and promises, money and or property owned by, and under the
custody and control of, said health care benefit program, in connection with the
delivery of or payment for health care benefits, items, and services.

Objective of the Conspiracy

 

10. The objective of the conspiracy was for the defendants to unlawfully
enrich themselves by, among other things, (a) submitting and causing the
submission of claims to Medicare for services that were not supported by
appropriate documentation; (b) concealing the lack of appropriate documentation
by creating false records.

Manner and Means of the Conspiracy

 

The manner and means by which defendants sought to accomplish the object
and purpose of the conspiracy included, among other things, the following:

11. NJOKU and OPARA caused Medicare to be billed for home health

care services.
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12. From 2018 through 2019, Medicare sought supporting documentation
for these billings.

13. In response to these documentation requests from Medicare, NJOKU
and OPARA generated false paperwork.

14... NJOKU cut out and taped the signatures of C.C., a nurse, and other
medical professionals onto patient paperwork.

15. OPARA also forged the signature of C.C. on patient paperwork and
submitted that documentation to Medicare.

16. C.C. did not authorize NJOKU and OPARA to use her name or
signature on these patient records.

17. From June 2, 2015 through August 5, 2019, OPNET submitted home
health care services claims to Medicare in the amount of approximately
$419,439.88 and received approximately $360,768.49 from Medicare.

COUNTS 2-12

False Statements Relating to Health Care Matters
(Violations of 18 U.S.C. § 1035)

18. Paragraphs | through 17 are re-alleged and incorporated by reference

as if fully set forth herein.

19. On or about the dates set forth below, in the greater Houston area,
and within the Southern District of Texas, and elsewhere, Defendants

PAUL NJOKU and PATE OPARA

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knowingly and willfully falsified, concealed, and covered up by a trick, scheme,
and device a material fact, namely that OPNET did not have medical records to
support claims made to Medicare, in connection with the delivery of and the
payment for health care benefits, items, and services, involving Medicare, a health

care benefit program as defined in 18 U.S.C. § 24(b) with each act set forth below:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Count | Patient Sumortix o Dagumontaties Claim Dates of Service
2 J.C. #21913700722907TXR 1/6/19 to 3/6/19

3 J.C. #2 1903002451007TXR 11/7/18 to 1/5/19

4 N.D. #21913700723407TXR 1/7/19 to 3/7/19

5 N.D. #21901700690307TXR 11/08/18 to 1/6/19

6 W.M. #21913800270707TXR 9/17/18 to 10/08/18
7 D.R. #21913800271207TXR 1/8/19 to 3/8/19

8 J.S. #21913800271007TXR 12/9/18 to 2/6/19

9 J.S. #21901001235707TXR 10/10/18 to 12/08/18
10 VS. #21913601423807TXR 12/19/18 to 2/16/19
1] N.B. #21815102591307TXR 2/10/18 to 4/10/18
12 N.B. #21901001235807TXR 6/10/18 to 8/8/18

 

All in violation of 18 U.S.C. § 1035(a)(1).

 
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COUNT 13
Aggravated Identity Theft
(Violation of 18 U.S.C. § 1028A)

20. Paragraphs | through 19 are re-alleged and incorporated by reference
as if fully set forth herein.

21. On or about February 2018 through July 2019, in the Greater
Houston area, and within the Southern District of Texas, and elsewhere,
Defendants

PAUL NJOKU and PATE OPARA
did knowingly transfer, possess, or use, without lawful authority, a means of
identification of another person, during and in relation to a felony violation
enumerated in 18 U.S.C. § 1028A(c), to wit: Title 18, United States Code, Section
1349 Conspiracy, and Title 18, United States Code, Section 1035, False Statements
Relating to Health Care Matters, knowing that the means of identification belonged

to another actual person.

All in violation of 18 U.S.C. § 1028A.
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NOTICE OF CRIMINAL FORFEITURE
(18 U.S.C. § 982(a)(7))

22. Pursuant to United States Code, Section 982(a)(7), the United States
of America gives notice to defendants PAUL NJOKU and PATE OPARA that,
in the event of conviction for any of the violations charged in Counts One through
Thirteen of the Indictment, the United States intends to forfeit all property, real or
personal, that constitutes or is derived, directly or indirectly, from gross proceeds

traceable to the commission of any such offense.

23. The United States gives notice that it will seek a money judgment
against the Defendants in the amount of at least $360,768.49. In the event that one
or more conditions listed in Title 21, United States Code, Section 853(p) exist, the
United States will seek to forfeit any other property of the Defendants up to the

amount of the money judgment.

A TRUE BILL:
Original Signature on File
GRAND JURY FOREPERSON

 

Jennifer B. Lowery
UNITED STATES ATTORNEY

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ABDUL FARUKHI
SPECIAL ASSISTANT U.S. ATTORNEY

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